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       EXPERIAN CONSUMER SERVICES
  11

  12                      UNITED STATES DISTRICT COURT
  13                    CENTRAL DISTRICT OF CALIFORNIA
  14

  15   CONSUMERINFO.COM, INC. dba              Case No. 8:16-cv-01261 DOC (KESx)
       EXPERIAN CONSUMER
  16   SERVICES,                               Honorable David O. Carter
  17                  Plaintiff,               JUDGMENT OF PERMANENT
                                               INJUNCTION AGAINST
  18         v.                                DEFENDANT ESTEBAN LEON
                                               [55]
  19   ESTEBAN LEON; and DOES 1
       through 10, inclusive,
  20
                      Defendants.
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                                                                   FINAL JUDGMENT OF
                                                              PERMANENT INJUNCTION
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   1
             The Court, pursuant to the Stipulation To Final Judgment of Permanent
   2
       Injunction (“Stipulation”) between Plaintiff ConsumerInfo.com dba Experian
   3
       Consumer Services (“Experian”), on the one hand, and Defendant Esteban Leon
   4
       (“Leon”; Experian and Leon are collectively “the Parties”), on the other hand,
   5
       hereby ORDERS, ADJUDICATES and DECREES that a Permanent Injunction
   6
       shall be and hereby is entered against Leon as follows:
   7
                                           JURISDICTION
   8
             1.     This case involves Experian’s claims of federal Misappropriation of
   9
       Trade Secrets under the Defend Trade Secrets Act (18 U.S.C. § 1836(b)), violation
  10
       of California Penal Code § 502(c), third party beneficiary breach of contract,
  11
       trespass to chattels, and Unfair Business Practices pursuant to California Business
  12
       & Professions Code §17200.
  13
             2.     This Court has personal jurisdiction over Leon because he resides in
  14
       this District and this District is where a substantial part of the events giving rise to
  15
       the claims occurred.
  16
             3.     This Court has subject matter jurisdiction over this matter, under 28
  17
       U.S.C. §§ 1331 and 1338, in that it is a civil action arising under the laws of the
  18
       United States, specifically 18 U.S.C. § 1836(b). This Court has supplemental
  19
       jurisdiction over the claims asserted under the laws of California pursuant to 28
  20
       U.S.C. § 1367(a).
  21
                                        FINDINGS OF FACT
  22
             Pursuant to a Confidential Settlement Agreement, Experian and Leon have
  23
       stipulated to the following facts, which are hereby adopted by the Court:
  24
             4.     Experian is a corporation organized and existing under the laws of
  25
       California. Experian’s principal place of business is in the County of Orange, in the
  26
       State of California.
  27
             5.     Leon is an individual residing in the County of Orange, in the State of
  28
                                                                              FINAL JUDGMENT OF
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   1
       California.
   2
             6.      Experian delivers online credit reports, scores, and monitoring
   3
       products directly to consumers over the Internet. As a means to deliver the array of
   4
       consumer products that Experian offers, Experian has spent millions of dollars in
   5
       the development and implementation of programming code for a new e-commerce
   6
       platform for the myriad of direct to consumer websites operated by Experian. The
   7
       undertaking to create and implement this platform is known internally as Project
   8
       Corvette.
   9
             7.      In June 2014, Experian contracted with vendor Tallan, Inc. (“Tallan”)
  10
       to provide, among other services, software engineers to assist with execution of
  11
       tasks on the Project Corvette team. Between January 2015 and June 2016, Tallan
  12
       deployed Leon to serve as a software developer on the Corvette Project team. As a
  13
       member of the team, Leon held a position that required him to have access to and
  14
       become familiar with Experian’s confidential and proprietary information. That
  15
       information included Experian’s JavaScript code, Experian’s source code, and
  16
       Experian’s utilities code for Project Corvette. To permit access to Experian’s
  17
       highly confidential information, it provided Leon an electronic access key that
  18
       contained a unique code specific to Leon. The unique electronic security key must
  19
       be used to access the Project Corvette JavaScript code hosted on the Amazon Web
  20
       Services (“AWS”) account.
  21
             8.      In July 2016, Leon disclosed certain Experian confidential and
  22
       proprietary information and the AWS electronic access key Experian provided to
  23
       him on a public website known as www.GitHub.com (“GitHub”). Although Leon
  24
       removed the information and access key from the GitHub website and did not retain
  25
       the information or access key, while posted on GitHub, this information and access
  26
       key were available to the public for a period of multiple days.
  27
             9.      The Parties stipulated and agreed that Experian’s injury was
  28
                                                                           FINAL JUDGMENT OF
                                                                      PERMANENT INJUNCTION
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   1
       irreparable, that Experian has no adequate remedy at law for the public disclosure
   2
       of its information and access key, that the balance of hardships favors Experian, and
   3
       that the public interest would not be disserved by a permanent injunction.
   4
               10.   Upon entry of this Permanent Injunction against Leon, the case shall
   5
       be dismissed in its entirety, with prejudice.
   6
               11.   This Court maintains jurisdiction to enforce the terms and conditions
   7
       of the Confidential Settlement Agreement and the Permanent Injunction against
   8
       Leon.
   9
                                       LEGAL AUTHORITY
  10
               12.   Pursuant to the California Penal Code § 502(e)(1), California Business
  11
       and Professions Code § 17203, and Misappropriation of Trade Secrets under the
  12
       Defend Trade Secrets Act (18 U.S.C. § 1836(b)(3)(A)), the Court has the power to
  13
       issue injunctive relief.
  14
               13.   Experian and Leon have stipulated to the above findings of fact as well
  15
       as to entry of a permanent injunction against Leon. Stipulations between parties are
  16
       generally adopted by courts and “are not to be lightly set aside.” Dexter v.
  17
       Kirschner, 984 F.2d 979, 984 (9th Cir. 1992) (citing In re Lenox, 902 F.2d 737, 739
  18
       (9th Cir. 1990)). In particular, “[w]hen parties have entered into stipulations as to
  19
       material facts, those facts will be deemed to have been conclusively established.”
  20
       U.S. v. Houston, 547 F.2d 104, 107 (9th Cir. 1976) (citing Schlemmer v. Provident
  21
       Life & Accident Ins. Co., 349 F.2d 682, 684 (9th Cir. 1965)). Stipulations entering
  22
       injunctions are typically upheld. See, e.g., Cree, Inc. v. Shelter Int'l, Inc., No. 2:15-
  23
       cv-09738-RSW-LA-GRX, 2016 WL 4939107 (C.D. Cal. Sept. 13, 2016) (entering
  24
       permanent injunction based on stipulation of the parties); see also United States v.
  25
       Wasserman, No. CV 14-04972-R-PLA, 2014 WL 3767047 (C.D. Cal. June 27,
  26
       2014) (same); see also Bowles v. Dodge, 141 F.2d 969, 970 (9th Cir. 1944)
  27
       (injunction upheld where law provided for entry of a permanent injunction and
  28
                                                                             FINAL JUDGMENT OF
                                                                        PERMANENT INJUNCTION
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   1
       parties stipulated to the facts and form of the injunction).
   2
                                   PERMANENT INJUNCTION
   3
             14.    This Permanent Injunction is based on the findings of fact and
   4
       conclusions of law as stated above. Leon, his agents, servants, employees, and
   5
       attorneys, and all persons who are in active concert or participation with him are
   6
       enjoined from the unauthorized use, duplication or distribution of Experian’s
   7
       JavaScript code, Experian’s source code, Experian’s utilities code; and the copying
   8
       and facilitating or encouraging the copying of Experian JavaScript code, Experian’s
   9
       source code or Experian’s utilities code, including that Leon is specifically
  10
       prohibited from:
  11
                    (a)    uploading or posting any Experian’s JavaScript code, Experian’s
  12
                           source code, or Experian’s utilities code on any website, server,
  13
                           database, or domain, whether public or private;
  14
                    (b)    disclosing any Experian’s JavaScript code, Experian’s source
  15
                           code, or Experian’s utilities code to any other person or entity,
  16
                           including but not limited to, his current employer Spireon, Inc.;
  17
                    (c)    using or attempting to use any Experian’s JavaScript code,
  18
                           Experian’s source code, Experian’s utilities code in any way for
  19
                           any purpose, commercial or otherwise; and
  20
                    (d)    disclosing, using, or attempting to use the Experian AWS
  21
                           electronic access keys assigned to him during his employment
  22
                           with Tallan and assignment to Experian.
  23
             15.    The Court finds that no bond is required.
  24
             16.    This Permanent Injunction shall be deemed to have been served upon
  25
       Leon the time of its execution by the Court.
  26
             17.    The Court finds there is no just reason for delay in entering this
  27
       Permanent Injunction, and, pursuant to Federal Rule of Civil Procedure 54(a), the
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                                                                            FINAL JUDGMENT OF
                                                                       PERMANENT INJUNCTION
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   1
       Court directs immediate entry of this Permanent Injunction against Leon.
   2
                           NO APPEALS AND CONTINUING JURISDICTION
   3
               18.        No appeals shall be taken from this Permanent Injunction, and the
   4
       Parties waive all rights to appeal. This Court expressly retains jurisdiction over this
   5
       matter to enforce any violation of the terms of the Confidential Settlement
   6
       Agreement and this Permanent Injunction.
   7
                                           NO FEES AND COSTS
   8
               19.        Experian and Leon shall each bear their own attorneys’ fees and costs
   9
       incurred in this matter.
  10
                                                 DISMISSAL
  11
               20.        The Court hereby dismisses this action with prejudice in its entirety
  12
       upon entry of this Permanent Injunction against Leon.
  13

  14                                                    26th
       IT IS SO ORDERED, ADJUDICATED and DECREED this ______ day of
  15     February
       ____________________, 2018
  16

  17                                                        DAVID O. CARTER
                                                            United States District Judge
  18
       NAI-1503292482v3
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                                                                                 FINAL JUDGMENT OF
                                                                            PERMANENT INJUNCTION
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